Case 3:17-cv-00072-NKM-JCH Document 819 Filed 08/05/20 Page 1 of 4 Pageid#: 12341




                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                 Charlottesville Division


  ELIZABETH SINES, SETH WISPELWEY,
  MARISSA BLAIR, APRIL MUÑIZ,
  MARCUS MARTIN, NATALIE ROMERO,
  CHELSEA ALVARADO, JOHN DOE, and
  THOMAS BAKER,

                                Plaintiffs,             Civil Action No. 3:17-cv-00072-NKM

  v.                                                        JURY TRIAL DEMANDED

  JASON KESSLER, et al.,

                                Defendants.


                    NOTICE OF CHANGE OF CONTACT INFORMATION
                               AND FIRM AFFILIATION


         Please take notice that Jessica E. Phillips, counsel for Plaintiffs Elizabeth Sines, Seth

  Wispelwey, Marissa Blair, April Muñiz, Marcus Martin, Natalie Romero, Chelsea Alvarado, John

  Doe and Thomas Baker, has changed her firm affiliation and contact information. Ms. Phillips is

  now affiliated with Paul, Weiss, Rifkind, Wharton & Garrison LLP. The new address, telephone

  number, facsimile number, and email for Ms. Phillips are as follows:

         Jessica E. Phillips
         PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
         2001 K Street, NW
         Washington, DC 20006
         Telephone: (202) 223-7338
         Facsimile: (202) 223-7420
         Email: jphillips@paulweiss.com

  The firm affiliation and contact information for Plaintiffs’ other counsel has not changed.
Case 3:17-cv-00072-NKM-JCH Document 819 Filed 08/05/20 Page 2 of 4 Pageid#: 12342




   Dated: August 5, 2020            Respectfully submitted,


                                    /s/ Jessica E. Phillips
                                    Jessica E. Phillips (pro hac vice)
                                    PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
                                    2001 K. Street, NW
                                    Washington, DC 20006
                                    Telephone: (202) 223-7338
                                    Facsimile: (202) 223-7420
                                    jphillips@paulweiss.com

                                    Counsel for Plaintiffs




                                        2
Case 3:17-cv-00072-NKM-JCH Document 819 Filed 08/05/20 Page 3 of 4 Pageid#: 12343




                                  CERTIFICATE OF SERVICE

        I hereby certify that on August 5, 2020, I filed the foregoing with the Clerk of Court through
  the CM/ECF system, which will send a notice of electronic filing to:

   Elmer Woodard                                     Justin Saunders Gravatt
   5661 US Hwy 29                                    David L. Campbell
   Blairs, VA 24527                                  Duane, Hauck, Davis & Gravatt, P.C.
   isuecrooks@comcast.net                            100 West Franklin Street, Suite 100
                                                     Richmond, VA 23220
   James E. Kolenich                                 jgravatt@dhdglaw.com
   Kolenich Law Office                               dcampbell@dhdglaw.com
   9435 Waterstone Blvd. #140
   Cincinnati, OH 45249                              Counsel for Defendant James A. Fields, Jr.
   jek318@gmail.com

   Counsel for Defendants Jason Kessler, Nathan
   Damigo, Identity Europa, Inc. (Identity
   Evropa), Matthew Parrott, and Traditionalist
   Worker Party

   William Edward ReBrook, IV                        Bryan Jones
   The ReBrook Law Office                            106 W. South St., Suite 211
   6013 Clerkenwell Court                            Charlottesville, VA 22902
   Burke, VA 22015                                   bryan@bjoneslegal.com
   edward@rebrooklaw.com
                                                Counsel for Defendants Michael Hill, Michael
   Counsel for Defendants Jeff Schoep, National Tubbs, and League of the South
   Socialist Movement, and Nationalist Front
Case 3:17-cv-00072-NKM-JCH Document 819 Filed 08/05/20 Page 4 of 4 Pageid#: 12344




         I further hereby certify that on August 5, 2020, I also served the following non-ECF
  participants, via electronic mail, as follows:

   Christopher Cantwell                         Vanguard America
   christopher.cantwell@gmail.com               c/o Dillon Hopper
                                                dillon_hopper@protonmail.com

   Robert Azzmador Ray                          Elliott Kline a/k/a Eli Mosley
   azzmador@gmail.com                           eli.f.mosley@gmail.com
                                                deplorabletruth@gmail.com

   Matthew Heimbach                             Richard Spencer
   matthew.w.heimbach@gmail.com                 richardbspencer@icloud.com
                                                richardbspencer@gmail.com


                                                /s/ Jessica E. Phillips
                                                Jessica E. Phillips (pro hac vice)
                                                PAUL, WEISS, RIFKIND, WHARTON &
                                                GARRISON LLP

                                                Counsel for Plaintiffs
